         Case 1:21-cr-00119-CJN Document 146 Filed 02/23/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

       v.                                              Case No. 21-cr-119-CJN

 GARRET MILLER

            Defendant.

                            GOVERNMENT’S MOTION TO DISMISS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this Motion to Dismiss and states as follows:

       On February 22, 2023, the defendant, Garret Miller, was sentenced on Counts 1, 2, 4, 5, 7,

8, 9, 10, 11, 12, and 13 of the Third Superseding Indictment.             Following sentencing, the

government moves to dismiss the following Counts in the prior indictments:

             •   Counts 1, 2, 4, 5, 6, 7, 8, 9, 10, 11, and 12 in the Indictment (ECF No. 10);

             •   Counts 1, 2, 4, 5, 6, 7, 8, 9, 10, 11, and 12 in the Superseding Indictment (ECF No.

                 30); and

             •   Counts 1, 2, 4, 5, 6, 7, 8, 9, 10, 11, and 12 in the Second Superseding Indictment

                 (ECF No. 61).

       The United States respectfully requests that this Court grant the government’s motion.




                                                   1
Case 1:21-cr-00119-CJN Document 146 Filed 02/23/23 Page 2 of 2




                            Respectfully submitted,

                            MATTHEW M. GRAVES
                            UNITED STATES ATTORNEY




                      BY:
                            Stephen J. Rancourt
                            Assistant United States Attorney, Detailee
                            Texas Bar No, 24079181
                            601 D Street, N.W.
                            Washington, D.C. 20530
                            (806) 472-7398
                            stephen.rancourt@usdoj.gov




                               2
